       Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 1 of 24




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


KEANNA CURTIS and MIRANDA JANE
BENNETT-MORALES, Individually and
On Behalf of All Others Similarly Situated,
                                                  No. 1:22-cv-10286-LGS
                             Plaintiffs,

                     v.                       ORAL ARGUMENT REQUESTED
JPMORGAN CHASE BANK, N.A., and
EARLY WARNING SERVICES, LLC
D/B/A ZELLEPAY.COM

                             Defendants.


MEMORANDUM OF LAW IN SUPPORT OF JPMORGAN CHASE BANK N.A.’S AND
EARLY WARNING SERVICES, LLC’S JOINT MOTION TO COMPEL INDIVIDUAL
               ARBITRATION AND STAY THIS ACTION
            Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 2 of 24




                                                       TABLE OF CONTENTS

                                                                                                                                    Page

PRELIMINARY STATEMENT .................................................................................................... 1

FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 2

          A.         Plaintiffs Both Agreed To The DAA When Opening Their Accounts................... 2

          B.         The DAA Contains A Binding Arbitration Provision............................................. 3

          C.         Plaintiffs Both Agreed To The DSA And Ms. Curtis Agreed To The New DSA.. 5

          D.         The DSA And The New DSA Contain Binding Arbitration Provisions ................ 6

          E.         Plaintiffs Both Agreed To The Zelle Agreement.................................................... 7

          F.         The Zelle Agreement Contains A Binding Arbitration Provision .......................... 8

          G.         Plaintiffs’ Claims And Reliance On Agreements With Chase ............................... 9

ARGUMENT................................................................................................................................ 10

I.        THIS COURT SHOULD COMPEL ARBITRATION OF PLAINTIFFS’ CLAIMS
          PURSUANT TO THE AGREEMENTS .......................................................................... 10

          A.         The Plaintiffs Entered Into Valid Agreements To Arbitrate................................. 11

                     1.         Both Plaintiffs Assented To The DAA ..................................................... 11

                     2.         Both Plaintiffs Assented To The DSA And Zelle Agreement .................. 14

          B.         Plaintiffs’ Claims Are Covered By The Arbitration Provisions ........................... 14

          C.         EWS Is Entitled To Enforce The Agreement To Arbitrate................................... 16

          D.         Plaintiffs Should Be Estopped From Repudiating The Arbitration Provisions .... 18

II.       THIS ACTION SHOULD BE STAYED PENDING ARBITRATION........................... 18

CONCLUSION............................................................................................................................. 18
            Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 3 of 24




                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)
CASES

Alghanim v. Alghanim,
   828 F. Supp. 2d 636 (S.D.N.Y. 2011)......................................................................................15

Anonymous v. JP Morgan Chase & Co.,
   2005 WL 2861589 (S.D.N.Y. Oct. 31, 2005) ....................................................................13, 14

Astra Oil Co. v. Rover Navigation, Ltd.,
    344 F.3d 276 (2d Cir. 2003)...............................................................................................17, 18

AT&T Mobility LLC v. Concepcion,
  563 U.S. 333 (2011).................................................................................................................10

AT&T Techs, Inc. v. Commc’ns Workers of Am.,
  475 U.S. 643 (1986).................................................................................................................14

Bakon v. Rushmore Services Center, LLC,
   2017 WL 2414639 (E.D.N.Y. June 2, 2017) ...........................................................................17

Cfirstclass Corp. v. Silverjet PLC,
    560 F. Supp. 2d 324 (S.D.N.Y. 2008) .......................................................................................8

Cho v. JS Autoworld 1 Ltd.,
   97 F. Supp. 3d 351 (E.D.N.Y. 2015) .......................................................................................17

Dill v. JPMorgan Chase Bank, N.A.,
    2020 WL 4345755 (S.D.N.Y. Jul. 29, 2020) ...............................................................12, 15, 18

Doe #1 v. Coll. Bd.,
   440 F. Supp. 3d 349 (S.D.N.Y. 2020)..........................................................................10, 15, 18

Epic Sys. Corp. v. Lewis,
   138 S. Ct. 1612 (2018).............................................................................................................10

Flores v. Chime Fin., Inc.,
   2022 WL 873252 (S.D.N.Y. Mar. 23, 2022) ...........................................................................13

Fluor Daniel Inter., Inc. v. Gen. Elec. Co.,
   1999 WL 637236 (S.D.N.Y. Aug. 20, 1999)...........................................................................18

Greater Bright Light Home Care Servs., Inc. v. Jeffries-El,
   58 N.Y.S.3d 68 (N.Y. App. Div. 2017) ...................................................................................16

Hidalgo v. Amateur Athletic Union of the U.S., Inc.,
   468 F. Supp. 3d 646 (S.D.N.Y. 2020)......................................................................................13
                                                 ii
            Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 4 of 24




Johnson v. JPMorgan Chase Bank, N.A.,
   2018 WL 4726042 (C.D. Cal. Sept. 18, 2018) ..................................................................12, 18

Katz v. Cellco P’ship,
   794 F.3d 341 (2d Cir. 2015).....................................................................................................18

KPA Promotion & Awards, Inc. v. JPMorgan Chase & Co.,
  2021 WL 1317163 (S.D.N.Y. Apr. 8, 2021)......................................................................12, 16

Meyer v. Uber Techs., Inc.,
   868 F.3d 66 (2d Cir. 2017).....................................................................................10, 11, 13, 14

MK West Street Co. v. Meridien Hotels, Inc.,
  184 A.D.2d 312 (N.Y. App. Div. 1992) .................................................................................16

Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
  460 U.S. 1 (1983).....................................................................................................................15

National Union Fire Ins. Co. v. Champps Entm’t, Inc.,
   2004 WL 2884304 (S.D.N.Y. Dec. 13, 2004) .........................................................................15

Novak v. JP Morgan Chase Bank, N.A.,
   2008 WL 907380 (E.D. Mich. Mar. 31, 2008) ........................................................................12

Pelligrino v. Morgan Stanley Smith Barney LLC,
    2018 WL 2452768 (S.D.N.Y. May 31, 2018) .........................................................................14

Peter v. Doordash, Inc.,
   445 F. Supp. 3d 580 (N.D. Cal. 2020) .....................................................................................11

Plazza v. Airbnb, Inc.,
   289 F. Supp. 3d 537 (S.D.N.Y. 2018)......................................................................................13

Rollins v. Goldman Sachs & Co. LLC,
   2019 WL 2754635 (S.D.N.Y. July 2, 2019) ............................................................................11

Salzano v. Lace Ent. Inc.,
    2014 WL 3583195 (S.D.N.Y. July 18, 2014) ..........................................................................15

Sanchez v. J.P. Morgan Chase Bank, N.A.,
   2014 WL 4063046 (S.D. Fla. Aug. 15, 2014)..........................................................................12

Scott v. JPMorgan Chase & Co.,
   2014 WL 338753 (S.D.N.Y. Jan. 30, 2014),
   aff’d, 603 F. App’x 33 (2d Cir. 2015)......................................................................................12

Scott v. JPMorgan Chase & Co.,
   603 F. App’x 33 (2d Cir. 2015) ...............................................................................................10

                                                                   iii
             Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 5 of 24




Sha-Poppin Gourmet Popcorn LLC v. JPMorgan Chase Bank, N.A.,
   553 F. Supp. 3d 452 (N.D. Ill. 2021) .......................................................................................12

Smith/Enron Cogeneration Ltd. v. Smith Cogeneration Int’l, Inc.,
   198 F.3d 88 (2d. Cir. 1999)......................................................................................................17

Sunmonu v. Chase Bank, N.A.,
   2019 WL 1258788 (D. Md. Mar. 19, 2019).......................................................................12, 16

Tepper Realty Co. v. Mosaic Tile Co.,
   259 F. Supp. 688 (S.D.N.Y. 1966) ......................................................................................2, 18

Thorne v. Square, Inc.,
   2022 WL 542383 (E.D.N.Y. Feb. 23, 2022)............................................................................14

United States v. Bank of Am.,
   2009 WL 2009022 (W.D.N.Y. Feb. 20, 2009) ........................................................................12

Vandewater & Lapp v. Sacks Builders, Inc.,
   186 N.Y.S.2d 103 (N.Y. App. Term 1959) .............................................................................17

Whitt v. Prosper Funding LLC,
   2015 WL 4254062 (S.D.N.Y. July 14, 2015) ..........................................................................14

STATUTES

9 U.S.C. § 2....................................................................................................................................10

9 U.S.C. § 3..............................................................................................................................10, 18

Federal Arbitration Act, 9 U.S.C. §§ 1, et seq. ..................................................................... passim

RULES

Fed. R. Civ. P. 12.............................................................................................................................1




                                                                       iv
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 6 of 24




        Pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1, et seq. (“FAA”), JPMorgan Chase

Bank, N.A. (“Chase”) and Early Warning Services, LLC (“EWS”) (together, “Defendants”) jointly

move for an order (1) compelling Plaintiffs Keanna Curtis and Miranda Jane Bennett-Morales to

separately arbitrate their claims on an individual basis pursuant to binding contractual arbitration

provisions and (2) staying these proceedings until each arbitration is complete (the “Motion”).1

                                    PRELIMINARY STATEMENT2

        Plaintiffs, both Chase accountholders, allege that unauthorized transactions were made

from their Chase bank accounts (“Accounts”) using Zelle®3 and that they were not refunded for

these transfers after reporting the purported fraud. They bring five causes of action, including a

breach of contract claim against Chase premised on accountholder agreements such as the Deposit

Account Agreement (“DAA”) and Zelle® Service Agreement and Privacy Notice (“Zelle

Agreement”). Plaintiffs’ claims are without merit, but that point aside, their claims do not belong

in this Court because they both agreed, multiple times, to arbitrate their claims on an individual

basis. In fact, their agreement to arbitrate is contained in the same contracts they cite in the claims.

        In order to open their Accounts, both Plaintiffs had to agree to the terms of the DAA and

each manifested their assent to this agreement by personally completing Chase’s “Click to Sign”

account opening process in-person at a branch. The DAA in effect at the time each Plaintiff agreed

to be bound by its terms—and subsequent versions in effect when Plaintiffs were purportedly


1
  This Court’s January 30, 2023 Order (Rec. Doc. No. 29) “stay[ed] the time to answer, move or otherwise respond to
the Complaint pending further order” once Defendants filed their pre-motion letter. (Rec. Doc. No. 29). Defendants
hereby reserve all rights and defenses they may have with respect to the pleading and merits of Plaintiffs’ claims,
including to file early dispositive motions under Fed. R. Civ. P. 12.
2
  When used herein, “Fox Decl.” shall refer to the March 16, 2023 Declaration of Barbara Fox, “Garrett Decl.” shall
refer to the March 15, 2023 Declaration of William A. Garrett, “Heyen Decl.” shall refer to the March 15, 2023
Declaration of John Heyen, “Kesterson Decl.” shall refer to the March 17, 2023 Declaration of Kevin Kesterson, and
“Martinez Decl.” shall refer to the March 16, 2023 Declaration of Jessica D. Martinez, all submitted herewith.
3
  Zelle is an instant payment service owned by EWS and offered by participating banks (including Chase) that comes
embedded in banking apps and is used to facilitate payments between participating banks.
             Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 7 of 24




injured and when they filed their claims in this case—contained binding arbitration and class action

waiver provisions. After opening their Accounts, both Plaintiffs also agreed to Chase’s Digital

Services Agreement (“DSA”) and the Zelle Agreement, both of which also contained binding

arbitration and class action waiver provisions, as did later-in-time versions in effect when Plaintiffs

were purportedly injured and when they filed their claims. Alongside signatory Chase, EWS is

entitled to enforce the Plaintiffs’ agreement to arbitrate either as a third-party beneficiary or under

the doctrine of equitable estoppel. Indeed, the Zelle Agreement and New DSA4 in effect before

this lawsuit was filed specifically permit EWS to enforce the arbitration provision.

           In short, both Plaintiffs entered into multiple agreements that require them to arbitrate

claims relating to their Accounts, the use of Chase’s websites and mobile applications, and/or the

use of Zelle on an individual basis and prohibit them from pursuing their claims on a putative class

basis. To permit them now to rely on such agreements to support their claims against Defendants

but then selectively repudiate arbitration and class action waiver provisions therein “would not

only flout equity” but undermine “the congressional purpose underlying the Federal Arbitration

Act [(“FAA”)].”5 This Court should decline to permit Plaintiffs to “have it both ways” and grant

this Motion, compel individual arbitration, and stay this matter pending arbitration completion.

                           FACTUAL AND PROCEDURAL BACKGROUND

           A.       Plaintiffs Both Agreed To The DAA When Opening Their Accounts

           Plaintiffs Curtis and Bennett-Morales opened their Accounts with Chase on October 7,

2019 and April 25, 2019, respectively, both in-person at different branches. Heyen Decl. ¶¶ 3-7;

Martinez Decl. ¶¶ 3-7. Both Plaintiffs needed to, and did, complete the “Click to Sign” account

opening process to open their new Accounts and have Personal Electronic Signature Cards issued


4
    The “New DSA” is the Consolidated Digital Services Agreement. See Kesterson Decl. ¶¶ 9-10 and Ex. C.
5
    Tepper Realty Co. v. Mosaic Tile Co., 259 F. Supp. 688, 692-93 (S.D.N.Y. 1966) (stay pending arbitration).
                                                           2
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 8 of 24




for their Accounts. Heyen Decl. ¶¶ 4, 7, 11-12, 15, 29; Martinez Decl. ¶¶ 4, 7, 10-11, 14, 28.

        Chase’s “Click to Sign” process required each Plaintiff to take control of the computer,

monitor, keyboard, and mouse and then take multiple steps by personally scrolling through each

document and clicking to confirm accuracy and/or manifesting acknowledgement to the terms

thereof. Heyen Decl. ¶¶ 13-28; Martinez Decl. ¶¶ 12-27. As part of these steps, each Plaintiff was

required to personally scroll through and acknowledge the terms of the DAA governing their new

account(s) by personally clicking a conspicuous “Acknowledge” button. Heyen Decl. ¶¶ 18-21;

Martinez Decl. ¶¶ 17-20.6 Each Plaintiff acknowledged the terms of and agreed to be bound by

the DAA, as the account opening process would not have proceeded to the next step otherwise (let

alone be completed and a Personal Electronic Signature Card issued). Heyen Decl. ¶¶ 11, 15, 30;

Martinez Decl. ¶¶ 10, 14, 29. Each Personal Electronic Signature Card acknowledged receipt of

the DAA and agreement to “be bound by the terms and conditions contained therein as amended

from time to time.” Heyen Decl. Ex. A at 1; Martinez Decl. Ex. A at 1.

        A visual depiction of the flow and sequence of Chase’s “Click to Sign” account opening

process in 2019 when Plaintiffs opened their Accounts is annexed to the Heyen Decl. as Ex. B.

        Subsequent updates to the DAA were made available to Plaintiffs after they opened their

Accounts and monthly account statements for the Accounts contained language stating that the

Accounts are governed by the currently effective DAA. Fox. Decl. ¶¶ 3, 13.

        B.       The DAA Contains A Binding Arbitration Provision

        The DAA in place at the time both Plaintiffs opened their Accounts provides as follows:

    You and we agree that upon the election of either of us, any dispute relating in any way to

6
  The DAA plainly confirms that it is the agreement “that governs” the Accounts. See Fox. Decl. Ex. A at 3, Ex. B at
5, Ex. C at 5, and Ex. D at 3 (noting also that the DAA is the “basic agreement” between the accountholder and Chase
and that “[b]y signing a signature card . . . or by using any of our deposit account services, you and anyone else
identified as an owner of the account agree to the terms in this agreement.”). Plaintiffs both regularly used their
Accounts, including in recent months, after opening them in 2019. Heyen Decl. ¶ 8; Martinez Decl. ¶ 8.
                                                         3
         Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 9 of 24




   your account or transactions will be resolved by binding arbitration as discussed below,
   and not through litigation in any court (except for matters in small claims court).
   This arbitration agreement is entered into pursuant to the Federal Arbitration Act, 9 U.S.C.
   §§ 1-16 (“FAA”).
   YOU HAVE A RIGHT TO OPT OUT OF THIS AGREEMENT TO ARBITRATE, AS
   DISCUSSED BELOW. UNLESS YOU OPT OUT OF ARBITRATION, YOU AND WE
   ARE WAIVING THE RIGHT TO HAVE OUR DISPUTE HEARD BEFORE A JUDGE
   OR JURY, OR OTHERWISE TO BE DECIDED BY A COURT OR GOVERNMENT
   TRIBUNAL. YOU AND WE ALSO WAIVE ANY ABILITY TO ASSERT OR
   PARTICIPATE IN A CLASS OR REPRESENTATIVE BASIS IN COURT OR IN
   ARBITRATION. ALL DISPUTES, EXCEPT AS STATED BELOW, MUST BE
   RESOLVED BY BINDING ARBITRATION . . . .

Fox. Decl. ¶¶ 5, 10, Ex. A at 13-14, Ex. D at 14 (emphases added, caps in original). The arbitration

provision in place at the time thus broadly covers any claims or disputes arising from or related to

the DAA and/or the Accounts, related transactions, or related services, noting:

   What claims or disputes are subject to arbitration?
   Claims or disputes between you and us about your deposit account, transactions involving
   your deposit account, safe deposit box, and any related service with us are subject to
   arbitration. Any claims or disputes arising from or relating to this agreement, any prior
   account agreement between us, or the advertising, the application for, or the approval or
   establishment of your account are also included. Claims are subject to arbitration,
   regardless of what theory they are based on or whether they seek legal or equitable
   remedies. Arbitration applies to any and all such claims or disputes, whether they arose in
   the past, may currently exist, or may arise in the future. . . .

Id. Ex. A at 14 and Ex. D at 14 (emphases added). Importantly, the DAA in effect at the time both

Plaintiffs opened their Accounts stated they must pursue claims on an individual basis and may

not pursue a class claim or proceed as a class action. Id. Ex. A at 14 and Ex. D at 14 (“Claims in

arbitration will proceed on an individual basis, on behalf of the named parties only. YOU AND

WE AGREE NOT TO . . . BE PART OF . . . ANY CLASS ACTION . . .”). At Account opening,

the DAA outlines procedures governing arbitration. Id. Ex. A at 14 and Ex. D at 14.

       Subsequent versions of the DAA—which Plaintiffs agreed to when they executed Personal

Electronic Signature Card for their Accounts, supra at 2-3—continued to maintain substantially


                                                 4
        Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 10 of 24




similar binding arbitration provisions, including in those versions of the DAA in effect when

Plaintiffs were allegedly injured and when they filed their respective claims against Defendants.

Fox. Decl. ¶¶ 6-8, 11-12, Ex. B at 25-26, Ex. C at 25-26. Plaintiffs ratified their acceptance of the

DAA, as amended, as they continued to use their Accounts. Heyen Decl. ¶ 8; Martinez Decl. ¶ 8.

       The DAA permitted Plaintiffs to “opt out” of arbitration by notifying Chase of such

election within 60 days of opening their Accounts by calling a toll-free number or contacting a

Chase banker. Garrett Decl. ¶ 2. Chase tracks DAA and other opt-out requests, and its records do

not reflect any opt-out request from either Plaintiff. Id. ¶¶ 3-5.

       C.      Plaintiffs Both Agreed To The DSA And Ms. Curtis Agreed To The New DSA

       Chase’s records reflect that both Ms. Curtis and Ms. Bennett-Morales enrolled in online

banking services and agreed to Chase’s Digital Service Agreement (“DSA”) on November 18,

2019 and May 21, 2019 and thus 42 days and 26 days after they opened their Accounts,

respectively. Kesterson Decl. ¶¶ 3-4, 20-21. During that enrollment process, Plaintiffs were

required to affirmatively click boxes acknowledging that each of them had read and accepted the

DSA. Id. ¶¶ 4, 21. Prior to providing such acknowledgements, Plaintiffs would have been

provided electronic access to the DSA for review by hyperlink. Id. ¶¶ 4, 21. If both Plaintiffs had

not provided the above-referenced acknowledgement clicks with respect to their review and

acceptance of the terms of the DSA, neither of them would have been permitted to proceed or to

partake in such digital products and services, nor would the DSA appear in Chase’s Admin Tool

database as an agreement they both accepted. Id. ¶¶ 4, 21. Both DSA versions that Plaintiffs

consented to make clear that it may be amended from time to time and that continued use of Digital

Platforms is considered agreement to those changes. Id. Ex. A at 3 and Ex. I at 3.

       A visual depiction of the flow and sequence of Chase’s process for enrolling a new

customer in online services, as of Q4 2022, is annexed to the Kesterson Decl. as Ex. D.
                                           5
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 11 of 24




Screenshots 8 and 9 reflect (1) what an accountholder would see with respect to reading and

agreeing to the terms of the DSA, including having access to the full agreement in effect at that

time for review by hyperlink, and (2) how the accountholder would have to check the box saying

“I agree to the Digital Services Agreement” in order to complete their enrollment and activate their

online service. Id. ¶ 11. Users enrolling in 2019, including Plaintiffs, would have had a

substantially similar view when accepting the terms of the DSA in effect at the time, including by

needing to affirmatively click to acknowledge reading and acceptance. Id. ¶¶ 11, 21.7

         D.       The DSA And The New DSA Contain Binding Arbitration Provisions

         The DSA in place at the time both Plaintiffs enrolled in online banking services provided:

    Binding Arbitration

    YOU AND WE AGREE THAT UPON THE ELECTION OF EITHER OF US, ANY
    DISPUTE RELATING IN ANY WAY TO THIS AGREEMENT, OR YOUR USE OF
    THE DIGITAL PLATFORMS AND SERVICES, WILL BE RESOLVED BY BINDING
    ARBITRATION AS DISCUSSED BELOW, AND NOT THROUGH LITIGATION IN
    ANY COURT (EXCEPT FOR MATTERS IN SMALL CLAIMS COURT). THIS
    ARBITRATION AGREEMENT IS ENTERED INTO PURSUANT TO THE FAA.

    YOU AND WE ARE WAIVING THE RIGHT TO HAVE OUR DISPUTE HEARD
    BEFORE A JUDGE OR JURY, OR OTHERWISE TO BE DECIDED BY A COURT OR
    GOVERNMENT TRIBUNAL. YOU AND WE ALSO WAIVE ANY ABILITY TO
    ASSERT OR PARTICIPATE IN A CLASS OR REPRESENTATIVE BASIS IN COURT
    OR IN ARBITRATION. ALL DISPUTES, EXCEPT AS STATED BELOW, MUST BE
    RESOLVED BY BINDING ARBITRATION WHEN EITHER YOU OR WE REQUEST
    IT.

    What claims or disputes are subject to arbitration?

    Claims are subject to arbitration, regardless of what theory they are based on or whether
    they seek legal or equitable remedies. Arbitration applies to any and all such Claims,
    whether they arose in the past, may currently exist or may arise in the future....



7
  Chase’s records also reflect that Ms. Curtis agreed to the New DSA on December 30, 2022 after she filed this lawsuit
on December 5, 2022 (but before she filed the Amended Complaint on March 2, 2023). Kesterson Decl. ¶ 9. During
that enrollment process, Ms. Curtis was required to affirmatively click boxes acknowledging that she had read and
accepted the New DSA. Id.
                                                          6
         Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 12 of 24




Kesterson Decl. ¶¶ 7, 24, Ex. A at 4-5; Ex. I at 5 (non-header emphases added). The arbitration

provision thus broadly covers any “Claim,” defined as “any dispute, claim or controversy arising

now or in the future under or relating in any way to this Agreement, the Digital Platforms or the

Services.” Id. Ex. A at 10 and Ex. I at 10. “Digital Platforms,” in turn, is broadly defined to cover

Chase “websites or mobile applications.” Id. Ex. A at 1 and Ex. I at 1. And “Services” is broadly

defined to include “Mobile Services” and “Online Services” available on Digital Platforms and

certain third-party digital platforms, including “Transfers.” Id. Ex. A at 1 and Ex. I at 1.

Importantly, the DSA both Plaintiffs agreed to in enrolling for online services stated they must

pursue claims on an individual basis and not as a class action. Id. Ex. A at 5 and Ex. I at 5.8

        The April 1, 2021 version of the DSA (in effect when Plaintiffs were allegedly injured and

when they first filed their respective claims) and the New DSA agreed to by Ms. Curtis on

December 30, 2022 (before she filed her Amended Complaint) contain substantively identical

binding arbitration provisions. Id. ¶¶ 8-10, 25, Ex. B at 5-6, Ex. C at 7-8. The New DSA’s Zelle

Addendum also expressly states that EWS may enforce this provision. Id. Ex. C ¶ 13.9

        E.       Plaintiffs Both Agreed To The Zelle Agreement

        Chase’s records reflect that both Ms. Curtis and Ms. Bennett-Morales agreed to the Zelle

Agreement on October 16, 2019 and February 15, 2023, respectively. Kesterson Decl. ¶¶ 12, 26.

During that enrollment process, both Plaintiffs were required to and would have had to

affirmatively click boxes acknowledging that they had read and accepted the Zelle Agreement. Id.

¶¶ 12, 26. Prior to providing such acknowledgements, Plaintiffs would have been provided



8
 The DSA outlined governing arbitration procedures, too. Kesterson Decl. Ex. A at 6 and Ex. I at 6-7.
9
  Unlike the DAA, the DSA arbitration provision does not contain language concerning the ability to opt out of
arbitration. Kesterson Decl. Ex. A at 4-5, Ex. B at 5-6, and Ex. I at 5. And while the New DSA does provide the
possibility for opting out, any such attempt by Ms. Curtis after accepting the New DSA would be moot as it would
post-date her filing of the Complaint. See id. ¶ 10 and Ex. C at 8.
                                                       7
        Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 13 of 24




electronic access to the Zelle Agreement for review by hyperlink. Id. ¶¶ 12, 26. If Plaintiffs had

not provided the above-referenced acknowledgement clicks with respect to their review and

acceptance of the terms of the Zelle Agreement, the Zelle Agreement would not appear in Chase’s

Admin Tool database as an agreement they both accepted. Id. ¶¶ 12, 26. Both Zelle Agreement

versions that Plaintiffs consented to make clear that it may be amended from time to time and that

continued use of Zelle constitutes agreement to those changes. Id. Ex. F at 1 and Ex. H at 2.

       A visual depiction of Chase’s Zelle enrollment and activation process in 2019 and in 2023

is annexed to the Kesterson Decl. as Ex. E, and like the DSA, provided access to the full Zelle

Agreement in effect at that time by hyperlink and required the accountholder to check a box

confirming their agreement to the terms thereof. See Kesterson Decl. ¶¶ 14, 28 and Exs. E(1)-(4).

       F.      The Zelle Agreement Contains A Binding Arbitration Provision

       The Zelle Agreement in effect when Ms. Curtis enrolled to use Zelle provided:

       Binding Arbitration

   YOU HEREBY AGREE THAT ANY DISPUTE, CLAIM OR CONTROVERSY
   ARISING NOW OR IN THE FUTURE UNDER OR RELATING IN ANY WAY TO
   THIS AGREEMENT, OR TO THE SERVICE (“CLAIM”), REGARDLESS OF
   THE NATURE OF THE CAUSE(S) OF ACTION ASSERTED (INCLUDING
   CLAIMS FOR INJUNCTIVE, DECLARATORY, OR EQUITABLE RELIEF),
   SHALL BE RESOLVED BY BINDING ARBITRATION. . . . YOU FURTHER
   AGREE THAT YOU WILL NOT BE ABLE TO BRING A CLASS ACTION OR
   OTHER REPRESENTATIVE ACTION (SUCH AS AN ACTION IN THE FORM
   OF A PRIVATE ATTORNEY GENERAL) TO LITIGATE ANY CLAIMS IN
   COURT BEFORE EITHER A JUDGE OR JURY; NOR WILL YOU BE ABLE TO
   PARTICIPATE AS A CLASS MEMBER IN A CLASS ACTION OR OTHER
   REPRESENTATIVE ACTION . . . CLAIMS IN ARBITRATION SHALL
   PROCEED ON AN INDIVIDUAL BASIS ONLY AND YOU AGREE THAT YOU
   WILL NOT BE ABLE TO PROCEED ON ANY CLAIM IN ARBITRATION AS A
   CLASS CLAIM OR CLASS ACTION OR OTHER COMPARABLE
   REPRESENTATIVE PROCEEDING . . . .

Kesterson Decl. ¶ 17 and Ex. F at 5-6 (underline italic emphases added, bold emphases in original).

Subsequent versions thereof, including the Zelle Agreement in effect when Ms. Bennett-Morales

                                                8
         Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 14 of 24




enrolled to use Zelle, contain substantively identical binding arbitration provisions. Id. ¶¶ 18-19,

30, Ex. G at 7, Ex. H. at 7-8. The Zelle Agreement in effect prior to the filing of Ms. Curtis’

Complaint in this case and at the time of Ms. Bennett-Morales’ enrollment —and necessarily prior

to her joining this case and the filing of the Amended Complaint—also expressly states that “[y]ou

acknowledge and agree that for any claims or disputes you assert against Zelle® and [EWS],

Zelle® and [EWS] are entitled to enforce this arbitration provision against you.” Id. Ex. H at 8.10

        G.       Plaintiffs’ Claims And Reliance On Agreements with Chase

        Ms. Curtis filed the initial Complaint in this action on December 5, 2022, asserting five

causes of action, including a breach of contract claim against Chase premised on three contractual

agreements, including the DAA and Zelle Agreement. (Rec. Doc. 1). Ms. Bennett-Morales joined

as a named Plaintiff and the Amended Complaint was filed on March 2, 2023. (Rec. Doc. 42).11

Both Plaintiffs concede that their Accounts, like all Chase deposit accounts, are governed by the

DAA. Am. Compl. ¶ 80. They also concede that they both enrolled in and used online banking

services, including Zelle, through their Chase Accounts. Id. ¶¶ 93, 100, 103, 114, 116.

        Ms. Curtis alleges that she voluntarily used Chase’s mobile banking application to send

funds via Zelle to purported fraudsters from her Account, and after reporting the fraud was not

refunded for these transfers. Id. ¶¶ 93-113. Ms. Bennett-Morales alleges that her Account was

accessed by fraudsters and funds were sent using Zelle without her authorization. Id. ¶¶ 119-122.

Thus, both individual claims relate to the Accounts, Chase online banking services, and Zelle.

        Both the original Complaint and Amended Complaint rely on a Chase “Online Service

Agreement For Consumer Customers With Checking Accounts” dated September 13, 2020 (the



10
   Unlike the DAA, the Zelle Agreement arbitration provision does not contain language concerning the ability to opt
out of arbitration. See generally id. Exs. F at 5-6, Ex. G at 7, Ex. H at 7-8.
11
   This Court granted Defendants leave to move to individually arbitrate both Plaintiffs’ claims. (Rec. Doc. 41).
                                                         9
        Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 15 of 24




“Online Agreement”) to support their claims, in addition to the DAA and Zelle Agreement. (Rec.

Doc. 1 ¶¶ 82-83, Rec. Doc. 42 ¶¶ 83-84). That Online Agreement, the agreement prior to the DSA

relating to online banking services, provides as follows:

     YOU HEREBY AGREE THAT ANY DISPUTE, CLAIM OR CONTROVERSY
     ARISING NOW OR IN THE FUTURE UNDER OR RELATING IN ANY WAY TO
     THIS AGREEMENT, OR TO THE ONLINE SERVICE ("CLAIM") . . . SHALL BE
     RESOLVED BY BINDING ARBITRATION.

(Rec. Doc. 33-5 at 8-9 (§ 12)). It too contains a class action waiver provision. Id.

                                            ARGUMENT

I.     THIS COURT SHOULD COMPEL ARBITRATION OF PLAINTIFFS’ CLAIMS
       PURSUANT TO THE AGREEMENTS

       The FAA, which applies here, provides that an agreement to arbitrate “shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the revocation

of any contract.” 9 U.S.C. § 2. Per that statutory mandate, the Supreme Court has held that the

FAA established “a liberal federal policy favoring arbitration agreements” and that courts must

“rigorously enforce” them “according to their terms.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612,

1621 (2018); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (similar); see also,

e.g., Doe #1 v. Coll. Bd., 440 F. Supp. 3d 349, 354 (S.D.N.Y. 2020) (Schofield, J.) (noting the FAA

“embodies a national policy favoring arbitration based on the desire to preserve the parties’ ability

to arbitrate, not litigate their disputes”). The applicable standard in this Circuit is necessarily

whether (1) a valid agreement to arbitrate exists and (2) whether the litigation falls within its scope.

Scott v. JPMorgan Chase & Co., 603 F. App’x 33, 35 (2d Cir. 2015) (affirming stay pending

arbitration based on Chase’s DAA). If the answer to both of these questions is yes, then the court

is required to compel arbitration and stay the action pending arbitration. See 9 U.S.C. §§ 2, 3.

         On this Motion, the court may “consider[] all relevant, admissible evidence submitted by

 the parties and contained in pleadings ... together with … affidavits.” Meyer v. Uber Techs., Inc.,
                                                  10
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 16 of 24




 868 F.3d 66, 74 (2d Cir. 2017) (internal quotation marks and citation omitted) (reversing district

 court finding that parties had not agreed to arbitrate). Here, the evidence submitted by Chase

 establishes that Plaintiffs both agreed to not one, but at least three arbitration provisions that

 broadly encompass their claims, including in the DAA which has been repeatedly recognized as

 valid and enforceable, including in this District. The Motion should be granted in its entirety.

         A.       The Plaintiffs Entered Into Valid Agreements To Arbitrate

         To resolve whether an agreement to arbitrate “can be enforced, the district court must first

determine whether such agreement exists between the parties. . . . This question is determined by

state contract law.” Meyer, 868 F.3d at 73-74 (citation omitted). Here, regardless of whether New

York or California law applies—where Ms. Curtis and Ms. Bennett-Morales opened their

Accounts, respectively—Plaintiffs clearly entered into valid agreements to arbitrate.

         The Second Circuit has noted “that New York and California apply substantially similar

rules for determining whether the parties have mutually assented to a contract term.” Meyer, 868

F.3d at 74. A finding of mutual assent does not depend on the subjective intent of the parties, but

rather on the terms of the contract and the familiar elements of offer, acceptance, and

consideration.12 Here, Plaintiffs agreed to arbitrate their claims during the account opening process

for their Accounts, both by affirmatively clicking to acknowledge their agreement to the DAA and

then executing Personal Electronic Signature Cards. They then agreed to arbitrate by affirmatively

clicking to acknowledge that they had read and accepted the DSA and the Zelle Agreement.

                  1.       Both Plaintiffs Assented To The DAA

         When Plaintiffs applied for their Accounts, they were offered services subject to the terms


12
  See Rollins v. Goldman Sachs & Co. LLC, 2019 WL 2754635, at *6 (S.D.N.Y. July 2, 2019) (“under New York
law, there must be an offer, acceptance, consideration, mutual assent and intent to be bound,” and “[c]ourts can infer
acceptance when the party demonstrated at least constructive knowledge of the terms through his actions”); Peter v.
Doordash, Inc., 445 F. Supp. 3d 580, 585 (N.D. Cal. 2020) (“[a]ssent is evaluated by an objective standard”).
                                                         11
         Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 17 of 24




and conditions of the DAA and accepted Chase’s offer by (1) completing the “Click to Sign”

process and affirmatively clicking a button acknowledging their receipt and acceptance of the

DAA and (2) then electronically signing a signature card stating that they acknowledged receipt

of and “agree[d] to be bound by the terms and conditions of the DAA.” See supra at 2-5.

        Courts in the Second Circuit routinely hold that signing a signature card when opening a bank

account, like Plaintiffs did here, demonstrates assent. See, e.g., United States v. Bank of Am., 2009

WL 2009022, at *6 (W.D.N.Y. Feb. 20, 2009) (applying New York law, citing David v. Mfrs.

Hanover Tr. Co., 59 Misc. 2d 248, 248 (App. Term 2d Dep’t 1969)) (“the terms set forth in [a]

signature card executed by [a] plaintiff depositor and the statements of account which are referred

to therein constitute[] a valid contract between the [] depositor and defendant bank”). Indeed,

courts in this District have regularly enforced the very same Chase DAA arbitration provision at

issue in this case, where, as here, evidence was submitted that the depositors signed signature cards

incorporating the DAA and/or received copies of the DAA. See, e.g., KPA Promotion & Awards,

Inc. v. JPMorgan Chase & Co., 2021 WL 1317163, at *1-2, *4 (S.D.N.Y. Apr. 8, 2021) (granting

motion to compel on DAA where Chase established “that plaintiffs agreed to the terms of the DAA

… when they opened accounts”); Dill v. JPMorgan Chase Bank, N.A., 2020 WL 4345755, at *2-

3, *7-8 (S.D.N.Y. Jul. 29, 2020) (similar); Scott v. JPMorgan Chase & Co., 2014 WL

338753, at *2-3, *10-11 (S.D.N.Y. Jan. 30, 2014) (similar), aff’d, 603 F. App’x 33 (2d Cir. 2015).

Federal district courts across the country have reached the same result.13


13
   See, e.g., Sha-Poppin Gourmet Popcorn LLC v. JPMorgan Chase Bank, N.A., 553 F. Supp. 3d 452, 457 (N.D. Ill.
2021) (holding that “the deposit account agreement’s arbitration clause is sufficient to grant Chase’s motion to
compel”); Sunmonu v. Chase Bank, N.A., 2019 WL 1258788, at *2 (D. Md. Mar. 19, 2019) (rejecting plaintiff’s
argument that “Chase Bank ‘is unable to prove … the existence of a valid and binding agreement between the parties’”
where evidence included signed signature cards “indicating [plaintiff’s] assent” to the DAA); Johnson v. JPMorgan
Chase Bank, N.A., 2018 WL 4726042, at *3-4 (C.D. Cal. Sept. 18, 2018) (evidence was submitted that depositor
signed signature card incorporating DAA); Sanchez v. J.P. Morgan Chase Bank, N.A., 2014 WL 4063046, at *2-3 (S.D.
Fla. Aug. 15, 2014) (plaintiffs were provided copies of DAA); Novak v. JP Morgan Chase Bank, NA, 2008 WL
907380, at *5 (E.D. Mich. Mar. 31, 2008) (deposit agreement and signature card bore plaintiff’s signature).
                                                        12
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 18 of 24




         That Plaintiffs electronically signed their signature card makes no difference to this Court’s

analysis. Indeed, a plaintiff will be found to have assented to an arbitration provision in a web-

based contract “where the notice of the arbitration provision was reasonably conspicuous and

manifestation of assent unambiguous as a matter of law.” Meyer, 868 F.3d at 76 (vacating order

denying motion to compel arbitration).14 Notice and assent are found to exist where the online

form prompts the user to agree to the relevant terms and conditions by clicking a specific box or

button to that effect and the user so complies. Id. at 75.

         Here, Plaintiffs completed the “Click to Sign” process that involved a clear and

conspicuous notice of the DAA, requiring Plaintiffs to scroll through it, affirmatively click a button

marked “Acknowledge” at the end of the agreement before they could continue to the next account

opening step, and affirmatively click to execute the signature card once again acknowledging

receipt of and an agreement to be bound by the DAA. See Heyen Decl. ¶¶ 11-30; Martinez Decl.

¶¶ 10-29. This process is thus similar to the process in Meyer, which also involved a button as

“the mechanism for manifesting assent.” 868 F.3d at 78; see also id. at 75 (“Courts routinely

uphold” online agreements where “the user has affirmatively assented to the terms of agreement

by clicking ‘I agree,’” whether in the form of “clickwrap agreements” or “scrollwraps.”).15

          Plaintiffs further assented to the DAA’s arbitration provision by their continual use of

 their Chase accounts. Heyen Decl. ¶ 8; Martinez Decl. ¶ 8; Anonymous v. JP Morgan Chase &



14
   The Second Circuit in Meyer applied California law principles of contract formation, but as noted above, New York
and California law is substantially similar on the question of mutual assent.
15
   See also, e.g., Flores v. Chime Fin., Inc., 2022 WL 873252, at *5-6 (S.D.N.Y. Mar. 23, 2022) (compelling arbitration
where user would not have been able to open an account without affirmatively agreeing to clickwrap deposit account
agreement); Hidalgo v. Amateur Athletic Union of the U.S., Inc., 468 F. Supp. 3d 646, 657 (S.D.N.Y.
2020) (compelling arbitration where “it would have been impossible for the plaintiff to complete his membership
application without checking the box that gave assent to the terms and conditions”); Plazza v. Airbnb, Inc., 289 F.
Supp. 3d 537, 548-49 (S.D.N.Y. 2018) (compelling arbitration where defendant's website “would not allow users to
access any part of Airbnb's website or continue using the platform until they indicated their assent to the TOS” and
after scrolling users had to click a check box to “agree”).
                                                         13
        Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 19 of 24




 Co., 2005 WL 2861589, at *4 (S.D.N.Y. Oct. 31, 2005) (holding that plaintiff entered into valid

 agreement to arbitrate based on “uncontested evidence that the plaintiff used [his] Chase card

 and made payments to Chase for that use for several months”). Moreover, Plaintiffs were each

 given an opportunity after opening their accounts to opt out of the DAA arbitration provision

 but declined to do so, further signaling their assent. Garrett Decl. ¶¶ 2-5; Pelligrino v. Morgan

 Stanley Smith Barney LLC, 2018 WL 2452768, at *3 (S.D.N.Y. May 31, 2018) (a failure to opt-

 out “‘compel[s] the conclusion’ that Plaintiff[s] are bound by the Arbitration Agreement”).

               2.      Both Plaintiffs Assented To The DSA And Zelle Agreement

       Plaintiffs also agreed to arbitrate their claims when they agreed to the DSA and the Zelle

Agreement. In both cases, Plaintiffs assented when, after receiving a hyperlink to access and read

the underlying agreement, they affirmatively clicked boxes acknowledging that they had read and

accepted the DSA and Zelle Agreement’s terms. Supra at 5-8; Kesterson Decl. ¶¶ 4, 9, 11, 12, 14,

21, 26, 28. Such affirmative clicking to constitute acceptance after being provided access to an

agreement by hyperlink is routinely deemed a manifestation of assent. See Meyer, 868 F.3d at 79-

80 (“A reasonable user would know that by clicking the [ ] button, he was agreeing to the terms

and conditions accessible via the hyperlink, whether he clicked on [it] or not”); see also Thorne v.

Square, Inc., 2022 WL 542383, at *9-12 (E.D.N.Y. Feb. 23, 2022) (compelling arbitration); Whitt

v. Prosper Funding LLC, 2015 WL 4254062, at *4 (S.D.N.Y. July 14, 2015) (same).

       B.      Plaintiffs’ Claims Are Covered By The Arbitration Provisions

       Plaintiffs’ claims fall squarely within the scope of the broad arbitration provisions they both

agreed to and, therefore, individual arbitration should be compelled.         See AT&T Techs, Inc. v.

Commc’ns Workers of Am., 475 U.S. 643, 650 (1986) (“[T]here is a presumption of arbitrability in the

sense that ‘[a]n order to arbitrate the particular grievance should not be denied unless it may be

said with positive assurance that the arbitration clause is not susceptible of an interpretation that
                                                 14
        Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 20 of 24




covers the asserted dispute.’”); Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S.

1, 24-25 (1983) (“[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor

of arbitration.”); Doe, 440 F. Supp. 3d at 354 (same).

       It is well-settled that “[t]o determine whether a dispute falls within the scope of an

agreement’s arbitration clause, a court should first classify the clause as either broad or narrow.”

National Union Fire Ins. Co. v. Champps Entm’t, Inc., 2004 WL 2884304, at *2 (S.D.N.Y. Dec.

13, 2004). In making this determination, “the Court must determine whether the language of the

clause, taken as a whole, evidences the parties’ intent to have arbitration serve as the primary

recourse for disputes connected to the agreement containing the clause or if, on the other hand,

arbitration was designed to play a more limited role.” Dill, 2020 WL 4345755, at *6. Here, the

arbitration provisions are “paradigm[atic] of a broad clause.” Alghanim v. Alghanim, 828 F. Supp.

2d 636, 652 (S.D.N.Y. 2011). Indeed, this Court has found that when an arbitration clause contains

broad language that “all disputes arising from [the contract] shall be … decided by … arbitration,”

all “claims concerning a collateral matter or matters covered by the parties’ contracts are presumed

to be arbitrable.” Salzano v. Lace Ent. Inc., 2014 WL 3583195, at *2-*3 (S.D.N.Y. July 18, 2014)

(Schofield, J.). That is plainly the case here, as the DAA covers “[a]ny claims or disputes arising

from or relating to this agreement” and “any dispute relating in any way to your account or

transactions,” including any “[c]laims or disputes between you and us about your deposit account,

transactions involving your deposit account, . . . and any related service with us.” Supra at 3-4.

       To be sure, courts that have considered the arbitration provision in the DAA have

confirmed that it is “broad” and ordered arbitration of disputes between Chase and its customers

relating to their Accounts. See, e.g., Dill, 2020 WL 4345755, at *6 (concluding that the “language

of the DAA’s arbitration provision is indisputably broad” and thus “create[s] a strong presumption


                                                15
         Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 21 of 24




of arbitrability”); Sunmonu, 2019 WL 1258788, at *2 (the DAA “defines arbitrable claims

broadly”); see also KPA Promotions, 2021 WL 1317163, at *5 n.9 (noting “[w]ere the Court to

address the scope of the arbitration provisions, . . . [t]he arbitration provision[] of the DAA . . . [is]

plainly broad enough to encompass plaintiffs’ claims”). And the arbitration provisions in the DSA,

New DSA, and Zelle Agreement are equally broad, encompassing “any” claim or dispute relating

to the use of digital services, Zelle, or the agreements themselves—all of which are prominently

featured in Plaintiffs’ own pleading. Supra at 6-8.

        C.      EWS Is Entitled To Enforce The Agreement To Arbitrate

        First, although EWS is not a signatory to the Zelle Agreement, it is nonetheless entitled to

enforce the arbitration provision therein because EWS is a third-party beneficiary. The Zelle

Agreement that Ms. Bennett-Morales agreed to, and that was in effect before Ms. Curtis filed this

lawsuit, expressly provides that “[y]ou acknowledge and agree that for any claims or disputes you

assert against Zelle® and [EWS], Zelle® and [EWS] are entitled to enforce this arbitration

provision against you.” See Kesterson Decl. ¶¶ 19, 30 and Ex. H at 8 (emphasis added). 16 Even

if the arbitration provision in the Zelle Agreement did not specifically identify EWS (as is the case

with the earlier version), EWS could still enforce the arbitration provision because it was intended

to benefit EWS and that the benefit was “sufficiently immediate.” Greater Bright Light Home

Care Servs., Inc. v. Jeffries-El, 58 N.Y.S.3d 68, 74-75 (N.Y. App. Div. 2017). Indeed, “the identity

of a third-party beneficiary need not be set forth in the contract or, for that matter, even be known

as of the time of its execution.” MK West Street Co. v. Meridien Hotels, Inc., 184 A.D.2d 312,

313 (N.Y. App. Div. 1992). Rather, the intended beneficiary need only be one of “a class of




16
  The New DSA’s Zelle Addendum also contains this same language permitting EWS to enforce the arbitration
provision. See Kesterson Decl. Ex. C, Zelle Addendum, ¶ 16.

                                                   16
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 22 of 24




persons intended to be benefited.” Vandewater & Lapp v. Sacks Builders, Inc., 186 N.Y.S.2d 103,

106 (N.Y. App. Term 1959). Here, the Zelle Agreement “states the terms and conditions that

govern [Plaintiffs’] use of the Zelle Service.” Kesterson Decl. Ex. F at 1 and Ex. G at 1. EWS

falls within the class of persons intended to benefit from the Zelle Agreement (including the

arbitration provision) because EWS unquestionably is “involve[d] in the provision of the [Zelle]

Service.” Id. Ex. F at 2 and Ex. G at 3. This Court should reach the same result as in Bakon v.

Rushmore Services Center, LLC, 2017 WL 2414639, at *1-*3 (E.D.N.Y. June 2, 2017), which

found a non-signatory defendant could compel arbitration as an intended third-party beneficiary,

and conclude that EWS is also entitled to do so.

         EWS should also be permitted to enforce the arbitration provision in the Zelle Agreement

under the doctrine of equitable estoppel, as there is a “close relationship” among the parties and

the issues in dispute are “intertwined” with the contract containing the arbitration agreement. In

Astra Oil Co. v. Rover Navigation, Ltd., 344 F.3d 276, 281 (2d Cir. 2003), the Second Circuit

compelled the plaintiff to arbitrate its claims against a non-signatory defendant because the

plaintiff's claims arose out of the contract containing the arbitration provision and the non-

signatory defendant shared a close operational relationship with the original signatory.17 Similarly,

there can be no question that EWS has a “close relationship” with Chase with respect to the Zelle

transactions at issue in the Amended Complaint.18 Given that EWS and Chase are “closely related”

as it pertains to Plaintiffs’ allegations and the Zelle service, it was “reasonably foreseeable” that



17
   See also Smith/Enron Cogeneration Ltd. v. Smith Cogeneration Int’l, Inc., 198 F.3d 88, 98 (2d. Cir. 1999) (applying
equitable estoppel) Cho v. JS Autoworld 1 Ltd., 97 F. Supp. 3d 351, 357 (E.D.N.Y. 2015) (same).
18
   See, e.g., Am. Compl. ¶ 23 (alleging EWS is owned in part by Chase); id. ¶ 58 (alleging marketing of the Zelle
service is “jointly designed and promulgated by Defendants [EWS and Chase] for their mutual benefit.”); id. ¶ 68
(alleging “Defendants’ online advertising does not adequately inform consumers that Zelle operates unlike other
payment options”); id. ¶¶ 104-113; 117-138 (alleging Plaintiffs notified Chase and EWS regarding the purported fraud
and that neither reimbursed their purported losses).
                                                         17
          Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 23 of 24




EWS would seek to enforce the arbitration provision.19 Plaintiffs’ own pleading demonstrates that

the claims arise from the use of Zelle and are “intertwined” with the Zelle Agreement, which

governs Plaintiffs’ use of Zelle and Plaintiffs specifically reference and rely on it in support of

their claims. See Am. Compl. ¶¶ 85, 95-103, 114-138. As such, Plaintiffs should be equitably

estopped from avoiding arbitration under the arbitration provision in the Zelle Agreement.20

         D.       Plaintiffs Should Be Estopped From Repudiating The Arbitration Provisions

         Plaintiffs “cannot have it both ways” and should be estopped from repudiating the

arbitration provisions it agreed to with Chase as they expressly relied on those same agreements

in bringing suit. See Fluor Daniel Inter., Inc. v. Gen. Elec. Co., 1999 WL 637236, at *7 (S.D.N.Y.

Aug. 20, 1999) (citing Tepper, 259 F. Supp. at 692); see also Doe, 440 F. Supp. 3d at 355–56.

II.      THIS ACTION SHOULD BE STAYED PENDING ARBITRATION

         Where, as here, claims must be arbitrated and a stay is requested, the FAA mandates that

the court “shall . . . stay the trial of the action until such arbitration has been had in accordance

with the terms of the agreement.” 9 U.S.C. § 3 (emphasis added). The Second Circuit has held that

this provision “creates an obligation impervious to judicial discretion” and commands that “a stay

of proceedings [is] necessary after all claims have been referred to arbitration and a stay

requested.” Katz v. Cellco P’ship, 794 F.3d 341, 345 (2d Cir. 2015). This Court should thus stay

this case until both arbitrations have been completed. See Dill, 2020 WL 4345755, at *8 (staying

case pending arbitration in accordance with DAA); Johnson, 2018 WL 4726042, at *9 (same).

                                                CONCLUSION

         For all the reasons set forth herein, this Court should grant the Motion in its entirety.



19
   See, e.g., Cfirstclass Corp. v. Silverjet PLC, 560 F. Supp. 2d 324, 328 (S.D.N.Y. 2008) (non-signatory was “closely
related” to signatory, so its “enforcement of the . . . clause is foreseeable”).
20
   See Astra Oil, 344 F.3d at 281.
                                                         18
      Case 1:22-cv-10286-LGS Document 51 Filed 03/17/23 Page 24 of 24




Dated: March 17, 2023            Respectfully Submitted,

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